          Case: 3:13-cv-00834-jdp Document #: 95 Filed: 01/30/15 Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


Michael Koziara,
                                                             Case No. 13-cv-834-jdp
                                       Plaintiff,
                                                         PLAINTIFF’S RULE 26(a)(3)
v.                                                            DISCLOSURES

BNSF Railway Co.,

                                     Defendant.


                                  PLAINTIFF’S WITNESS LIST

          Plaintiff Michael Koziara (“Koziara”) submits the following witness list; however, he

reserves the right to amend this list as necessary before and/or during trial, call witnesses from

Defendant BNSF Railway Co.’s (“BNSF”) witness list, and offer additional witnesses for

impeachment, foundation or rebuttal.

i. Witnesses Koziara Expects to Present:

     1.     Chris Davis
            c/o Brotherhood of Maintenance of Way Employes Division of the IBT
            41475 Gardenbrook Road
            Novi, MI 48375-1328
     2.     Michael Heille
            c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
            Wells Fargo Center
            90 South Seventh Street, Suite 3800
            Minneapolis, MN 55402
     3.     Joan Koziara
            c/o Nichols Kaster, PLLP
            IDS Center
            80 South Eighth Street, Suite 4600
            Minneapolis, Minnesota 55402
     4.     Plaintiff Michael Koziara
            c/o Nichols Kaster, PLLP
            IDS Center
            80 South Eighth Street, Suite 4600
            Minneapolis, Minnesota 55402

                                                    1
          Case: 3:13-cv-00834-jdp Document #: 95 Filed: 01/30/15 Page 2 of 7



    5.     Al Mitchell
           W9772 County Road I
           Pepin, WI 54759
    6.     Daniel Rankin
           c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
           Wells Fargo Center
           90 South Seventh Street, Suite 3800
           Minneapolis, MN 55402
    7.     Dan Stern
           301 Hart Street
           Melrose, WI 54642
    8.     Brad Underhill
           44080 Dakota Valley Drive
           Dakota, Minnesota 55925
    9.     Mike Veitz
           c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
           Wells Fargo Center
           90 South Seventh Street, Suite 3800
           Minneapolis, MN 55402
    10.    Eric Weber
           c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
           Wells Fargo Center
           90 South Seventh Street, Suite 3800
           Minneapolis, MN 55402
    11.    Jerry Weis
           915 Eastwood Street
           Holmen, WI 54636
    12.    Mack Wiens
           c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
           Wells Fargo Center
           90 South Seventh Street, Suite 3800
           Minneapolis, MN 55402
    13.    Gary Wischover
           c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
           Wells Fargo Center
           90 South Seventh Street, Suite 3800
           Minneapolis, MN 55402

ii. Witnesses Koziara May Call if the Need Arises

    1.     Bill Barbee
           c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
           Wells Fargo Center
           90 South Seventh Street, Suite 3800
           Minneapolis, MN 55402
    2.     Russ Ingebritson

                                              2
             Case: 3:13-cv-00834-jdp Document #: 95 Filed: 01/30/15 Page 3 of 7



               7141 Amundson Avenue
               Edina, MN 55439
        3.     Don Jones
               c/o Ogletree, Deakins, Nash, Smoak & Steward, P.C.
               Wells Fargo Center
               90 South Seventh Street, Suite 3800
               Minneapolis, MN 55402
        4.     Don Willing
               406 N. Daviess Street
               Gallatin, MO 64640
        5.     Greg Zielke
               5126 N. State Street
               Onalaska, WI 54650

iii.   Testimony Plaintiff Intends to Present Via Deposition Transcript:

       Koziara may need to present Eric Weber’s testimony via his deposition, of which Koziara

   designates pages 1-3, 7:7-14, 11:18-14:15, 33:4-18, 35:6-25, 38:12-41:14, 66:18-67:3, 92:2-

   93:19, 97:13-98:15, 115:1117:8, 128:25-130:11, 131:1-134:10, 136:6-138:10, 140:5-11, 140:22-

   141:19, 142:25-143:9, 144:14-145:8, 146:10-20, 154:11-16. Koziara may also need to present

   Mack Wiens’s testimony via his deposition, of which Koziara designates pages 1-3, 4:6-13, 8:25-

   9:14, 9:22-10:17, 17:10-20:23, 22:10-22, 25-26:13, 26:9-27:7, 30:20-31:4, 32:9-11, 32:14-36:9,

   37:12-41:21, 42:24-43:2, 43:18-47:4, 48:9-12. Koziara reserves the right to amend this list as

   necessary before and/or during trial.

                                      PLAINTIFF’S EXHIBIT LIST

             Koziara submits the following exhibit list; however, he reserves the right to amend this

   list as necessary before and/or during trial, use exhibits from BNSF’s exhibit list, and offer

   additional exhibits for impeachment or rebuttal. Koziara also reserves the right to object to the

   admissibility of documents that may be offered by BNSF at the trial, regardless of whether they

   are identified on this list.




                                                    3
        Case: 3:13-cv-00834-jdp Document #: 95 Filed: 01/30/15 Page 4 of 7




         No.                                 Description


         P-1    Koziara’s FRA Injury Report, Bates Nos. BNSF253-255


         P-2    Koziara’s PI Report, Bates Nos. BNSF256-257/Koziara167, 761-762


         P-3    BNSF’s Code of Conduct, Bates Nos. BNSF266-294


         P-4    BNSF’s Internal Control Plan, Bates Nos. BNSF304-532


         P-5    Maintenance of Way Operating Rules, Bates Nos. BNSF533-652


         P-6    Maintenance of Way Safety Rules, Bates Nos. BNSF661-770


         P-7    Notice of Suspension, Bates No. BNSF771


         P-8    Notice of Termination (Alleged Theft), Bates No. BNSF772


                Koziara’s Medical Records from September 13, 2010,1 Bates Nos.
         P-9
                BNSF787-788


        P-10    Email from Veitz to West, Bates No. BNSF896


        P-11    Pictures of the Crossing, Bates Nos. BNSF904-910


        P-12    Pictures of the Front-End Loader, Bates Nos. BNSF911-916


        P-13    Koziara’s Employee Transcript,2 Bates Nos. BNSF925-931



1
  The records include Koziara’s irrelevant medical information. Such information is irrelevant
and should be redacted.
2
  The transcript includes Koziara’s prior discipline, the details of which are irrelevant. Such
discipline should be redacted pursuant to the Court’s order on Plaintiff’s Motion in Limine to
Exclude Evidence of Koziara’s Unrelated Prior Discipline.
                                              4
Case: 3:13-cv-00834-jdp Document #: 95 Filed: 01/30/15 Page 5 of 7




       Exhibit 4a from Koziara’s Investigatory Hearing (Alleged Theft) with
P-14   the Declarant’s Name (Chris Davis) Excluded, Bates No.
       BNSF1017/Koziara403


       Exhibit 4b from Koziara’s Investigatory Hearing (Alleged Theft) with
P-15   the Declarant’s Name (Gerald Weis) Excluded, Bates No.
       BNSF1018/Koziara404


P-16   Chart of Koziara’s Taxes and Fringe Benefits, Bates No. BNSF1683


P-17   Koziara’s Monthly Payment History, Bates Nos. BNSF1718-1721


       BNSF’s Policy for Employee Performance Accountability, Bates Nos.
P-18
       BNSF2106-2114


P-19   BNSF’s Reenactment Report, Bates No. BNSF2332


P-20   BNSF’s General Code of Operating Rules, Bates Nos. BNSF2335-2492


P-21   BNSF’s Incentive Compensation Plan, Bates Nos. BNSF2504-2508


P-22   BNSF’s Agreement with Pioneer Sands, Bates Nos. BNSF2524-2539


       BNSF’s Personal Property Removal Agreement, Bates Nos. BNSF2540-
P-23
       2565


P-24   Veitz’s Calendar, Bates Nos. BNSF 2566-2604


P-25   BNSF’s Employee Safety Rules, Bates Nos. BNSF 2704-2775


P-26   BNSF’s TY & E Safety Rules, Bates Nos. BNSF 2886-2935


P-27   BNSF’s Mechanical Safety Rules, Bates Nos. BNSF2936-3095




                                     5
       Case: 3:13-cv-00834-jdp Document #: 95 Filed: 01/30/15 Page 6 of 7




        P-28   Koziara’s PPI Detail,3 Bates No. BNSF3096


        P-29   BNSF’s Personal Performance Index, Bates No. BNSF3097


        P-30   Koziara’s Phone Records, Bates Nos. Koziara567-568


        P-31   Notice of Investigation (Alleged Theft), Bates No. Koziara566


               Exhibit 4a from Koziara’s Investigatory Hearing (Alleged Theft) with
        P-32
               the Declarant’s Name (Chris Davis) Included, Bates No. Koziara570


        P-33   Notice of Investigation (Injury), Bates No. Koziara573


               Exhibit 4c from Koziara’s Investigatory Hearing (Alleged Theft) with
        P-34
               the Declarant’s Name Included (Dan V.), Bates No. Koziara577


               Exhibit 4c from Koziara’s Investigatory Hearing (Alleged Theft) with
        P-35
               the Declarant’s Name (Gerald Weis) Included, Bates No. Koziara580


               September 20, 2010 Letter from Horton (Sr. Claims Representative for
        P-36
               BNSF) to Koziara, Bates No. Koziara 660



                                                      NICHOLS KASTER, PLLP
Dated: January 30, 2015
                                                      s/ Nicholas D. Thompson
                                                      James H. Kaster (WI# 1001474)
                                                         kaster@nak.com
                                                      Matthew H. Morgan (MN #304657)
                                                         morgan@nka.com
                                                      Nicholas D. Thompson (WI #1078903)
                                                         nthompson@nka.com
                                                      4600 IDS Center
                                                      80 South Eighth Street
                                                      Minneapolis, Minnesota 55402-2242

3
  The detail includes a parenthetical, which was added by BNSF for this litigation. Such
parenthetical should be redacted.
                                              6
Case: 3:13-cv-00834-jdp Document #: 95 Filed: 01/30/15 Page 7 of 7



                                       Telephone: (612) 256-3200
                                       Fax: (612) 338-4878

                                       ATTORNEYS FOR PLAINTIFF




                                7
